               Case 2:21-cr-00167-GW Document 6 Filed 03/10/21 Page 1 of 1 Page ID #:54


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                                        UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFO~di~CR
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                                                                      l.c~~ +o~~,:~ .
                                                               CASE NUMBE~.s,
UNITED STATES OF AMERICA                                                                     v ~~T
                                                   PLAINTIFF 2:21-mj-01055-DUN —1
                   V.

                                                                       REPORT COMMENCING CRIMINAL
Christian                   James
                                                                                      ACTION
 USMS#                                            DEFENDANT

TO:.CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

 1• Date and time of arrest: March 10, 2021                                     ❑ AM ❑ PM

 2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
    any other preliminary proceeding:     ~ Yes       ❑ No

 3. llefendant is in U.S. Marshals Service lock-up (in this court building):    ❑Yes      ❑ No

 4. Charges under which defendant has been booked:

     18 USC 371;1028A(a)(1)~

 5. Offense charged is a:    ❑Felony        ❑Minor Offense           ❑Petty Offense       ❑Other Misdemeanor

 6. Interpreter Required:    ~ No     ❑Yes         Language:

 7• Year of Birth: 1988

 8. Defendant has retained counsel:       ❑ No
         Yes     Name:                                                 Phone Number:


 9• Name of Pretrial Services Officer notified:

10. Remarks (if any):


il. Name: Juan Ferrer                                    (please print)

1.2. Office Phone Number: X562) 243-7695                                   13. Agenry: U.S. Postal Service Office
                           -~            „~~
14. Signature:    r-~` _ -   - -- '"".-~~    =_r                           15. Date: March 10, 2021
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                                    r-

CR-64(05/18)                              REPORT COMMENCING CRIMINAL ACTION
